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                              THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF SOUTH CAROLINA

In re:                              )
                                    )                   Case No. 23-02826-eg
Joshua Allen Ingram and Ashley      )
Ingram,                             )                   Chapter 7
                                    )
                      Debtors.      )
                                    )
Michelle L. Vieiera, Chapter 7      )
Trustee for Joshua Allen Ingram and )
Ashley Ingram,                      )
                      Plaintiff,    )
                                    )
v.                                  )
Terence Bennett,                    )
                      Defendant.    )

                                                   COMPLAINT

           Michelle L. Vieira (“Trustee”), as Chapter 7 Trustee for the Bankruptcy Estate of Joshua

Allen Ingram and Ashley Ingram, alleges as follows:

           1.       On September 19, 2023 (“Petition Date”), Joshua Allen Ingram and Ashley Ingram

(collectively “Debtors”), filed a voluntary petition under Chapter 7 of Title 11 of the United States

Code. 1

           2.       Plaintiff was appointed Chapter 7 Trustee, and it is in this capacity that she brings

this action.

           3.       Defendant Terence Bennett (“Defendant”) is a citizen and resident of the State of

South Carolina, County of Charleston.

           4.       This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and (F). This Court

has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1334 and 157, and Local Civil Rule

83.IX.01 DSC. Venue is appropriate under 28 U.S.C. § 1409.


1
    Further references to the bankruptcy code, 11 U.S.C § 101 et seq., will be by section number only.
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       5.      Plaintiff consents to the entry of final order or judgment by the Bankruptcy Court.

                                              FACTS

       6.      Plaintiff incorporates each of the foregoing allegations as fully as if repeated herein

verbatim.

       7.      As evidenced by their schedules filed on October 11, 2023 (“Schedules”), Debtors

own two (2) parcels of real property located in Dorchester County, South Carolina (collectively

the “Dorchester Properties”).

       8.      On or about December 27, 2022, Defendant caused a lawsuit to be filed against

Debtors in the County of Charleston, State of South Carolina captioned Terence Bennett v. Indigo

Pools LLC, a/k/a and d/b/a Indigo Pools and Spas LLC, Indigo Pools and Spas LLC, Joshua

Ingram, and Ashley Ingram, Case No. 2022-CP-10-5915 (“State Court Action”). In the State Court

Action, Defendant asserted claims against Debtors for damages Defendant claimed to have

sustained as a result of the matters described in the complaint filed in the State Court Action. See

Terence Bennett Proof of Claim (Claim 7-1) filed on November 1, 2023, a true and correct copy

of which is attached hereto as Exhibit A, and its terms incorporated herein by reference.

       9.      On or about June 21, 2023, the Master in Equity for Charleston County entered its

order finding the Debtors liable to Defendant and entered judgment against Debtors in the amount

of $90,000.00 (“Judgment”). See Exhibit A at 4-23.

       10.     On June 23, 2023, Defendant obtained a Transcript of Judgment from the

Charleston County Clerk’s Office. See id. at 24-25. Thereafter, Defendant caused the Transcript

of Judgment to be recorded with the Dorchester County Clerk of Court. See id. at 26-27. A true

and correct copy of the recorded Transcript of Judgment is attached hereto as Exhibit B and

incorporated herein by reference.
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         11.    Upon the recording of the Transcript of Judgment in Dorchester County, the

Judgment became a lien on the Dorchester Properties pursuant to applicable South Carolina law.

         12.    Plaintiff is informed and believes that the recording of the Judgment in Dorchester

County was a transfer of an interest of the Debtors in property, made to or for the benefit of

Defendant during the ninety (90) day period prior to the Petition Date.

         13.    As evidenced by Exhibits A and B:

                a. Defendant was a creditor of the Debtors at the time of the transfer; and

                b. The transfer was made on account of an antecedent debt owed by the Debtors

                   before the transfer was made.

         14.    Plaintiff is informed and believes that the transfer would enable Defendant to

receive more than he would have received under this Chapter 7 if the transfer had not been made

and Defendant had received payment of the antecedent debt in accordance with the provisions of

this title.

         15.    Pursuant to § 547(f), the Debtors were insolvent at the time of the transfer.

         16.    Plaintiff is informed and believes that the transfer is voidable and is automatically

preserved for the benefit of the estate pursuant to §§ 547, 550, and 551.

         WHEREFORE, Plaintiff prays that this Court inquire into the matters hereinabove alleged

and enter its order:

         1.     finding the recording of the Transcript of Judgment to be an avoidable preference

under § 547;

         2.     preserving the Transcript of Judgment for the benefit of the estate pursuant to §551;

and

         3.     For such other and further relief as the Court deems just and proper.
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                              BEST LAW, PA

                              /s/ Tara E. Nauful
                              Tara E. Nauful, DCID 5864
                              tara@bestlawsc.com
                              999 Lake Hunter Cir., Suite D
                              Mount Pleasant, SC 29464
                              p: 843.793.4744

                              Attorneys for Michelle L. Vieira, Chapter 7 Trustee



March 7, 2024
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                                 EXHIBIT A
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  Fill in this information to identify the case:

  Debtor 1          JOSHUA     INGRAM
                    __________________________________________________________________

  Debtor 2              ASHLEY    INGRAM
                        ________________________________________________________________
  (Spouse, if filing)

  United States Bankruptcy Court for the: __________
                                          District of South      of __________
                                                             Carolina
                                                        District

  Case number           23-02826-EG
                        ___________________________________________




 Official Form 410
 Proof of Claim                                                                                                                                                    

 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:        Identify the Claim

1. Who is the current
   creditor?
                                     TERENCE     BENNETT
                                     ___________________________________________________________________________________________________________
                                     Name of the current creditor (the person or entity to be paid for this claim)

                                     Other names the creditor used with the debtor      ________________________________________________________________________

2. Has this claim been               ✔ No
                                     
   acquired from
   someone else?                      Yes. From whom? ______________________________________________________________________________________________________

3. Where should notices              Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                           different)
   creditor be sent?
                                     WALKER GRESSETTE & LINTON, LLC
                                     _____________________________________________________                       _____________________________________________________
   Federal Rule of                   Name                                                                        Name
   Bankruptcy Procedure
   (FRBP) 2002(g)                    P.O. BOX 22167
                                     ______________________________________________________                      ______________________________________________________
                                     Number      Street                                                          Number      Street
                                     CHARLESTON                 SC          29413
                                     ______________________________________________________                      ______________________________________________________
                                     City                       State             ZIP Code                       City                       State             ZIP Code

                                     Contact phone     (843) 727-2216
                                                      ________________________                                   Contact phone   ________________________

                                     Contact email     ivey@wglfirm.com
                                                       ________________________                                  Contact email   ________________________



                                     Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                     __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __


4. Does this claim amend             ✔ No
                                     
   one already filed?
                                      Yes. Claim number on court claims registry (if known) ________                                  Filed on   ________________________
                                                                                                                                                  MM / DD       / YYYY



5. Do you know if anyone             ✔ No
                                     
   else has filed a proof             Yes. Who made the earlier filing?             _____________________________
   of claim for this claim?




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 Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number        ✔ No
                                 
   you use to identify the        Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor: ____ ____ ____ ____
   debtor?



7. How much is the claim?                              90,000.00 Does this amount include interest or other charges?
                                   $_____________________________.
                                                                             ✔ No
                                                                             
                                                                              Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                      charges required by Bankruptcy Rule 3001(c)(2)(A).


8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.

                                 Money paid for goods and services not received, fraud, UTPA
                                 ______________________________________________________________________________



9. Is all or part of the claim    No
   secured?                      ✔ Yes. The claim is secured by a lien on property.
                                 
                                           Nature of property:
                                           ✔ Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                           
                                                             Attachment (Official Form 410-A) with this Proof of Claim.
                                            Motor vehicle
                                           ✔ Other. Describe:
                                                                         Judgment  Lien Against All Debtors' Real Property
                                                                          _____________________________________________________________



                                           Basis for perfection:          S.C. Code § 15-35-810 (enrollment of judgment in Dorc. Co.)
                                                                          _____________________________________________________________
                                           Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                           been filed or recorded.)



                                           Value of property:                                   999,500.00
                                                                                         $__________________
                                           Amount of the claim that is secured:                   90,000.00
                                                                                         $__________________

                                           Amount of the claim that is unsecured: $__________________ (The sum of the secured and unsecured
                                                                                                      amounts should match the amount in line 7.)



                                           Amount necessary to cure any default as of the date of the petition:               $____________________



                                           Annual Interest Rate (when case was filed)_______%
                                            Fixed
                                            Variable


10. Is this claim based on a     ✔ No
                                 
    lease?
                                  Yes. Amount necessary to cure any default as of the date of the petition.                  $____________________


11. Is this claim subject to a   ✔ No
                                 
    right of setoff?
                                  Yes. Identify the property: ___________________________________________________________________




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12. Is all or part of the claim     No
    entitled to priority under
                                   ✔ Yes. Check one:
                                                                                                                                                  Amount entitled to priority
    11 U.S.C. § 507(a)?
   A claim may be partly                   Domestic support obligations (including alimony and child support) under
   priority and partly                        11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                              $____________________
   nonpriority. For example,
   in some categories, the                 Up to $* of deposits toward purchase, lease, or rental of property or services for
   law limits the amount                      personal, family, or household use. 11 U.S.C. § 507(a)(7).                                          $____________________
   entitled to priority.
                                           Wages, salaries, or commissions (up to $1,*) earned within 180 days before the
                                              bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.                   $____________________
                                              11 U.S.C. § 507(a)(4).
                                           Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                                 $____________________

                                           Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                     $____________________

                                          ✔ Other. Specify subsection of 11 U.S.C. § 507(a)(__)
                                                                                          7 that applies.                                                     3,350.00
                                                                                                                                                  $____________________

                                          * Amounts are subject to adjustment on 4/01/ and every 3 years after that for cases begun on or after the date of adjustment.



 Part 3:    Sign Below

 The person completing            Check the appropriate box:
 this proof of claim must
 sign and date it.             I am the creditor.
 FRBP 9011(b).                ✔ I am the creditor’s attorney or authorized agent.
                              
 If you file this claim        I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 electronically, FRBP
 5005(a)(2) authorizes courts
                               I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 to establish local rules
 specifying what a signature
 is.                              I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
                                  amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a
 fraudulent claim could be        I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fined up to $500,000,            and correct.
 imprisoned for up to 5
 years, or both.
                                  I declare under penalty of perjury that the foregoing is true and correct.
 18 U.S.C. §§ 152, 157, and
 3571.
                                  Executed on date         11/01/2023
                                                           _________________
                                                           MM / DD     /   YYYY




                                  ________________________________________________________________________
                                   /s/Jennifer S. Ivey
                                          Signature

                                  Print the name of the person who is completing and signing this claim:


                                  Name                   JENNIFER                     S.                            IVEY
                                                         _______________________________________________________________________________________________
                                                         First name                   Middle name                   Last name

                                  Title                  ATTORNEY
                                                         _______________________________________________________________________________________________

                                  Company                WALKER GRESSETTE & LINTON, LLC
                                                         _______________________________________________________________________________________________
                                                         Identify the corporate servicer as the company if the authorized agent is a servicer.



                                  Address                P.O.  BOX 22167
                                                         _______________________________________________________________________________________________
                                                         Number             Street

                                                         CHARLESTON                                     SC           29401
                                                         _______________________________________________________________________________________________
                                                         City                                                       State         ZIP Code

                                  Contact phone          843-727-2216
                                                         _____________________________                              Email IVEY@WGLFIRM.COM
                                                                                                                              ____________________________________




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                                              First Judicial Circuit
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                                 Court
  Case Number: 2023CP1801009                         Common Pleas                      Filed Date:     06/23/2023
                                 Agency:
                                 Case Sub
  Case Type:       Common Pleas                      Transcript Judg 740               File Type:      Non-Jury
                                 Type:
                                 Assigned            Clerk Of Court C P, G S, And
  Status:          Judgment
                                 Judge:              Family Court
                                 Disposition                                           Disposition     Clerk Of Court C P, G S, And
  Disposition:     Judgment                          06/23/2023
                                 Date:                                                 Judge:          Family Court
  Original                       Original
  Source Doc:                    Case #:
  Judgment                       Court
                   2023CP1801009
  Number:                        Roster:

   Case Parties     Judgments      Tax Map Information        Associated Cases       Actions    Financials




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                                                                           Ingram,       Judg.                  Judgment
    For:                Bennett, Terence                  Against:                                 $90,000.00                06/23/2023
                                                                           Joshua        Amount:                Date:
                                                                                                                Date
                                                                                         Disp.                               06/23/2023 -
    Description: Judgment/Transcript Disposition:                                                               Entered/Last
                                                                                         Date:                               - 06/23/2023
                                                                                                                Changed
    Notes:              None
                                                                        Judgment Details
        Claims Code                                          Detail Desc.                               Detail Amount      Detail Date
    None
                                                                           Indigo        Judg.                  Judgment
    For:                Bennett, Terence                  Against:                                 $90,000.00                06/23/2023
                                                                           Pools Llc     Amount:                Date:
                                                                                                                Date
                                                                                         Disp.
    Description: Judgment/Transcript Disposition:                                                               Entered/Last 06/23/2023 --
                                                                                         Date:
                                                                                                                Changed
    Notes:              None
                                                                        Judgment Details
        Claims Code                                          Detail Desc.                               Detail Amount      Detail Date
    None
                                                                           Ingram,       Judg.                  Judgment
    For:                Bennett, Terence                  Against:                                 $90,000.00                06/23/2023
                                                                           Ashley        Amount:                Date:
                                                                                                                Date
                                                                                         Disp.                               06/23/2023 -
    Description: Judgment/Transcript Disposition:                                                               Entered/Last
                                                                                         Date:                               -
                                                                                                                Changed
    Notes:              None
                                                                        Judgment Details
        Claims Code                                          Detail Desc.                               Detail Amount      Detail Date
    None
                                                                           Indigo
                                                                                         Judg.                  Judgment
    For:                Bennett, Terence                  Against:         Pools And               $90,000.00               06/23/2023
                                                                                         Amount:                Date:
                                                                           Spas Llc
                                                                                                                Date
                                                                                         Disp.
    Description: Judgment/Transcript Disposition:                                                               Entered/Last 06/23/2023 --
                                                                                         Date:
                                                                                                                Changed
    Notes:              None
                                                                        Judgment Details
        Claims Code                                          Detail Desc.                               Detail Amount      Detail Date
    None


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